Case 3:23-cv-08993-MCR-HTC Document 14 Filed 05/04/23 Page 1 of 7

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

OPTIO RX, LLC &
CRESTVIEW PHARMACY, LLC,

Plaintiffs,

V.

CRESTVIEW CITY PHARMACY,
INC., JENNIFER RESHAY
DENSMAN, CHRISTOPHER NEIL
DENSMAN & BRYAN HENDERSON,

Defendants,

AMANDA DAVEY, CLAUDIA
BARNETT, KARI WAITES,
VICTORIA BALLARD, .
MORGAN MEEKS, KYNDALL
BARBER & ELLEN STAFFORD,

Nominal Defendants.

 

 

Case No. 3:23-cv-08993-MCR-HTC

PLAINTIFFS’ NOTICE OF FILING EMAIL
COMMUNICATIONS WITH BRYAN HENDERSON

Plaintiffs, OPTIO RX, LLC & CRESTVIEW PHARMACY, LLC, by and

through undersigned counsel, hereby give notice of filing email communications

with Bryan Henderson (brhendu@live.com) regarding notice of the Evidentiary

Hearing scheduled for Friday, May 5, 2023. Copies of the email communications

with Bryan Henderson are attached hereto as Exhibit “A”.
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Dated:

May 4, 2023

Respectfully submitted,

OPTIO RX, LLC & CRESTVIEW
PHARMACY, LLC

BY: /S/ ALIETTE D. RODZ

 

Aliette D. Rodz
ARodz@shutts.com
Florida Bar No. 173592
SHUTTS & BOWEN LLP
200 S. Biscayne Boulevard
Suite 4100

Miami, Florida 33131
Telephone: (305) 358-6300

-and-

Alexis M. Dominguez
adominguez@nge.com

NEAL, GERBER & EISENBERG LLP
Two North LaSalle Street

Suite 1700

Chicago, IL 60602-3801

Telephone: (312) 269-8000

Facsimile: (312) 269-1747

Attorneys for Plaintiffs

CERTIFICATE OF SERVICE

I HEREBY CERTIFY on May 4, 2023, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record listed.

/s/ Aliette D, Rodz
Attorney
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EXHIBIT
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Aliette D. Rodz

 

 

ae
From: Bryan Henderson <brhendu@live.com>
Sent: Wednesday, May 3, 2023 7:59 PM
To: Dominguez, Alexis M.
Ce: Aliette D. Rodz
Subject: Re: OptioRx v. Crestview City Pharmacy (Case No. 23-cv-8993)
Attachments: image176133.png

CAUTION EXTERNAL EMAIL

 

I’m not supposed to be home until Friday evening after graduation and | have gotten such short notice I’m attempting to
find some.

Sent from my iPhone

On May 3, 2023, at 6:42 PM, Dominguez, Alexis M. <adominguez@nge.com> wrote:

Bryan: Thanks for the update/quick response. Are you back from your trip now and able to accept
service at home? Or should we try you elsewhere?

Also, please let us know regarding Friday’s hearing. Will you be appearing pro se or do you have
counsel?

Thanks,
Alex

Get Outlook for iOS

Alexis M. Dominguez
Partner
Neai, Gerber & Eisenberg LLP

p: 312.269.8476 | f: 312.429.3518 | e: adominguez@nge.com
Pronouns: he/him/his

Two North LaSalle Street, Suite 1700, Chicago, IL 60602
www.nge.com

Confidentiality Notice: This communication is confidential and may contain privileged information. If you have received i
error, please notify the sender by reply e-mail and immediately delete it and any attachments without copying or further
transmitting the same.

 

From: Bryan Henderson <brhendu@live.com>

Sent: Wednesday, May 3, 2023 7:14:42 PM

To: Dominguez, Alexis M. <adominguez@nge.com>

Ce: Aliette D. Rodz <ARodz@shutts.com>

Subject: Re: OptioRx v. Crestview City Pharmacy (Case No. 23-cv-8993)
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CAUTION EXTERNAL EMAIL

 

Alex,
Sorry sir. Been out of town for my daughters birthday and graduation from University of Florida.

Sent from my iPhone

On May 3, 2023, at 2:52 PM, Dominguez, Alexis M. <adominguez@nge.com> wrote:

Bryan,

Our process servers repeatedly have attempted to serve you with Court papers in this
matter at your home address, 3084 Whitley Oaks Lane Pace FL 32571. They also
repeatedly have attempted to reach you by phone (850-293-8459). Thus far, their
attempts to reach you have been unsuccessful. Please advise whether there is another
address and/or phone number where you can be reached.

Additionally, per the attached Order, this matter is scheduled for an evidentiary hearing
on Friday, May 5, 2023 at 9:00 AM before Judge Rodgers. Please advise whether you
are represented by counsel or intend to appear pro se in this matter.

Regards,
Alex

Alexis M. Dominguez

Partner

Neal, Gerber & Eisenberg LLP

p: 312.269.8476 | f: 312.429.3578 | e: adominguez@nge.com
Pronouns: he/him/his

<imageQ01.png>

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error, please notify the sender by reply e-mail and immediately delete it and any attachments without copying o
transmitting the same.

From: Dominguez, Alexis M.

Sent: Friday, April 28, 2023 8:42 AM

To: Bryan Henderson <brhendu@live.com>
Subject: RE: Cease and Desist

Bryan,

| am informed by OptioRx that you are in possession certain controlled substances (i.e.,
testosterone) that was improperly taken from the pharmacy on April 20, 2023, after you
were placed on administrative leave. | believe that you also are in possession of a
Company-issued iPad. Please confirm that these items will be returned immediately.

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Alex

Alexis M. Dominguez

Partner

Neal, Gerber & Eisenberg LLP

p: 312.269.8476 | f: 312.429.3518 | e: adominguez@nge.com
Pronouns: he/him/his

<imageQ01.png>

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error, please notify the sender by reply e-mail and immediately delete it and any attachments without copying o
transmitting the same.

From: Bryan Henderson <brhendu@live.com>
Sent: Monday, April 24, 2023 7:30 PM

To: Dominguez, Alexis M. <adominguez@nge.com>
Subject: Re: Cease and Desist

CAUTION EXTERNAL EMAIL

 

Received sir. | have and will continue to follow our agreement. Hoping to get back to
taking care of folks.
Bryan

Sent from my iPhone

On Apr 20, 2023, at 10:45 AM, Dominguez, Alexis M.
<adominguez@nge.com> wrote:

Mr. Henderson,

Please see the attached correspondence concerning your legal
obligations to Optio Rx, LLC. Your immediate attention and response is
appreciated.

Regards,
Alex

Alexis M. Dominguez
Partner
Neal, Gerber & Eisenberg LLP

<image001.png>

p: 312.269.8476 | f: 312.429.3518 | e: adominguez@nge.com

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Two North LaSalle Street, Suite 1700, Chicago, IL 60602
www.nge.com

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error, please notify the sender by reply e-mail and immediately delete it and any attachments without c:
transmitting the same.

<Cease and Desist Letter - Bryan Henderson.pdf>

<Employment Agreement - B. Henderson.PDF>

<Membership Interest Purchase Agreement - Crestview - Excertped
Pages.pdf>

<Order on Motion for TRO.pdf>
